     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 1 of 18 Page ID #:127



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10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                No. 2:22-cr-00474-JLS

13             Plaintiff,                     GOVERNMENT’S SENTENCING POSITION;
                                              DECLARATION OF ELIZABETH S.P.
14                   v.                       DOUGLAS

15   JULIA BETH CODA,                         Hearing Date: January 26, 2024
        aka “Julia Beth Taus,”                Hearing Time: 8:30 a.m.
16      aka “Bonfire,”                        Location:     Courtroom of the
                                                            Hon. Josephine L.
17             Defendant.                                   Staton

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Elizabeth S.P.
22   Douglas, hereby files its Sentencing Position for defendant JULIA
23   BETH CODA.
24        This Sentencing Position is based upon the attached memorandum
25   of points and authorities, the attached Declaration of Elizabeth S.P.
26   Douglas, the concurrently filed exhibits, the files and records in
27   this case, and such further evidence and argument as the Court may
28   permit.
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 2 of 18 Page ID #:128



1         The government respectfully requests the opportunity to

2    supplement its position or respond to any positions asserted by the

3    defense or the United States Pretrial and Probation Office as may

4    become necessary.

5    Dated: January 12, 2024              Respectfully submitted,

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10                                              /s/
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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 3 of 18 Page ID #:129



1                                  TABLE OF CONTENTS

2    DESCRIPTION                                                                    PAGE

3    TABLE OF AUTHORITIES................................................i

4    MEMORANDUM OF POINTS AND AUTHORITIES................................1

5    I.    INTRODUCTION...................................................1

6    II.   STATEMENT OF FACTS.............................................2

7          A.   Victim W.D. Obtains Custody of His Minor Daughter
                Following the Death of Defendant’s Sister.................2
8
           B.   Defendant Makes Unsubstantiated Allegations Regarding
9               Victim W.D. and Others to the FBI.........................2
10         C.   Defendant Researches How to Access the Dark Web...........3

11         D.   Defendant Hires a Hitman on the Dark Web to Murder
                Victim W.D................................................4
12
     III. THE PRESENTENCE REPORT AND USPPO’S RECOMMENDATION..............6
13
     IV.   A 78-MONTH SENTENCE IS JUST AND APPROPRIATE HERE...............7
14
           A.   Nature and Circumstances of the Offense...................7
15
           B.   History and Characteristics of Defendant..................9
16
           C.   Need to Reflect Seriousness of Offense; Promote
17              Respect for the Law; Provide Just Punishment; Afford
                Adequate Deterrence; and Protect the Public from
18              Further Crimes...........................................10

19         D.   Need to Avoid Unwarranted Disparities....................11

20         A.   A Three-Year Term of Supervised Release, With the
                Conditions in the Plea Agreement and Recommended by
21              Probation, Is Just and Appropriate.......................11

22   V.    CONCLUSION....................................................12

23   CERTIFICATE OF COMPLIANCE..........................................13

24   DECLARATION OF ELIZABETH S.P. DOUGLAS..............................14

25

26

27

28

                                             i
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 4 of 18 Page ID #:130



1                                TABLE OF AUTHORITIES

2    DESCRIPTION                                                                    PAGE

3    Cases

4    Gall v. United States,
       552 U.S. 38 (2007) ............................................ 11
5
     United States v. Johnson,
6      529 U.S. 53 (2000) ............................................ 12

7    United States v. Treadwell,
       593 F.3d 990 (9th Cir. 2010)       .................................. 11
8
     Federal Statutes
9
     18 U.S.C. § 1958 .................................................. 1
10
     18 U.S.C. § 3553 ............................................. passim
11
     State Statutes
12
     Cal. Health & Safety Code § 11352 ................................. 6
13
     Cal. Penal Code § 1203.4 ....................................... 6, 7
14
     Other
15
     S. Rep. No. 98-225 ............................................... 12
16
     U.S.S.G. § 2E1.4 .................................................. 6
17
     U.S.S.G. § 3E1.1 .................................................. 6
18
     U.S.S.G. § 5A .................................................... 11
19

20

21

22

23

24

25

26

27

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                                             i
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 5 of 18 Page ID #:131



1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.     INTRODUCTION

3           Defendant JULIA BETH CODA -- angry that Victim W.D. had obtained

4    custody of his minor child B.D. following the death of defendant’s

5    sister, who was B.D.’s mother -- began a campaign targeting Victim

6    W.D.    She made unsubstantiated allegations that Victim W.D. and other

7    family members had “kidnapped” B.D.        Defendant also spent months

8    researching how to access a hidden part of the internet, known as the

9    dark web, in order to hire someone to cause Victim W.D. harm.
10   Defendant first considered hiring an individual to hack into Victim
11   W.D.’s phone and email.      Ultimately, she decided to hire someone to
12   murder Victim W.D., suggesting to the hitman that Victim W.D.’s death
13   should be staged to look like an accidental overdose.           Defendant paid
14   the hitman approximately $10,000 in Bitcoin in six, separate payments
15   to kill Victim W.D.     Fortunately, Victim W.D. was physically
16   unharmed, despite defendant’s efforts.
17          For her conduct, the government charged defendant with the use
18   of interstate commerce facilities in the commission of murder-for-

19   hire, in violation of 18 U.S.C. § 1958(a).         (Dkt. 1.)    Defendant

20   subsequently pleaded guilty pursuant to a plea agreement.            (Dkts. 23

21   (“Plea Agreement”) and 25.)

22          The government respectfully recommends that this Court sentence

23   defendant to 78 months’ imprisonment, followed by a three-year period

24   of supervised release; a $100 special assessment; and no fine.             The

25   government submits such a sentence is sufficient, but not greater

26   than necessary, to achieve the purposes set forth in 18 U.S.C.

27   § 3553(a).    A 78-month sentence, which is at the low end of the

28   Guidelines range after a one-level downward variance is applied,
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 6 of 18 Page ID #:132



1    reflects the need to hold defendant accountable for her serious and

2    calculated offense conduct, disregard of the law, and the need for

3    general and specific deterrence.

4    II.   STATEMENT OF FACTS

5          Victim W.D. obtained custody of his minor daughter B.D. after

6    the young girl’s mother, J.T., died.         Defendant, who was J.T.’s

7    sister and thus B.D.’s aunt, then sought to attack Victim W.D. in a

8    variety of ways, culminating in her paying someone approximately

9    $10,000 to murder Victim W.D.
10         A.      Victim W.D. Obtains Custody of His Minor Daughter Following
11                 the Death of Defendant’s Sister
12         In May 2021, defendant’s sister J.T. died.         (Dkt. 28 (“PSR”)

13   ¶ 10.)      J.T. was survived by her young daughter, B.D., whom she

14   shared with Victim W.D.      (Id.)   Following J.T.’s death, Victim W.D.

15   obtained full custody of his daughter.        (Id.)

16         Defendant and her mother were given the right to visit B.D. four

17   weekends a year in Louisiana, where B.D. lives with Victim W.D, as

18   well as call B.D. once a week.       (Id.)   According to Victim W.D.,

19   during one such call defendant became angry when she heard B.D. refer

20   to B.D.’s stepmother as “Mommy,” and threw things and punched a wall.

21   (Id.)      Victim W.D. believed this call happened shortly before

22   defendant tried to hire a hitman to kill him.          (Id.)

23         B.      Defendant Makes Unsubstantiated Allegations Regarding

24                 Victim W.D. and Others to the FBI

25         In mid-July 2021, defendant -- using the false alias “Gigi

26   Bombelle” -- contacted the FBI.       (Id. ¶ 11.)     She alleged that her

27   father, G.T., and an associate were involved in a drug-trafficking

28   scheme.      She also claimed that G.T. had abducted B.D. and taken her

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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 7 of 18 Page ID #:133



1    to Louisiana.    (Id.)    The FBI interviewed defendant, who continued to

2    falsely claim her name was “Gigi Bombelle,” in August 2021 regarding

3    her allegations.    (Id.)

4         In December 2021, the FBI interviewed defendant again.            This

5    time, defendant provider her true name and admitted that she had been

6    posing as “Gigi Bombelle.”      She reiterated her prior, unsubstantiated

7    allegations regarding her father, G.T.        (Id.)    However, in this

8    interview, defendant changed her allegations and claimed that B.D.’s

9    father (Victim W.D.) was the one who had abducted B.D., not G.T., and
10   taken B.D. to live with him in Louisiana.         (Id.)   The FBI took no
11   further action because defendant provided no credible information

12   substantiating or corroborating her allegations.          (Declaration of

13   Elizabeth S.P. Douglas (Douglas Decl.), Ex. 1.)

14        Defendant may have also been responsible for spreading these

15   unsubstantiated allegations against Victim W.D. in other ways.             In an

16   interview with the FBI, Victim W.D. recalled that his employer and

17   others in Louisiana received letters alleging that he was involved in

18   criminal activity and had kidnapped B.D.         (Douglas Decl., Ex. 2.)

19   Victim W.D. believed these letters came from defendant.           (Id.)

20        C.     Defendant Researches How to Access the Dark Web

21        During this time, defendant also took steps to learn how to

22   access the “dark web” and hide her identity online. 1          For example, in

23   July 2021, defendant searched Google for “how do you use tor

24   browser.”   (PSR ¶ 21.)     She then accessed links through Google to

25   articles about Tor browsers, virtual private networks (“VPN”), and

26   the dark web.    (Id.)   Defendant also viewed an item called “VPN + Tor

27

28        1 The dark web is a hidden part of the internet, accessible only
     through specialized browsers such as Tor. (PSR ¶ 14 n.1.)
                                        3
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 8 of 18 Page ID #:134



1    Browser” on the Apple App Store.       (Id.)    Further, defendant searched

2    for “if you change internet providers will your ip address change.”

3    (Id.)

4         In the winter of 2021, defendant sent text messages referring to

5    her activity on the dark web.       For example, she texted someone:

6    “Taught myself how to use the dark web recently so o [sic] haven’t

7    left my house in like 2 weeks lol.”        (Id. ¶ 23(a).)     Defendant also

8    sent the following texts: “I asked him if I was using the dark web

9    correctly . . . He was like lol what the f**k are you doing” and “I
10   just need to hire a hacker and he was like you definitely don’t need
11   the dark web for that[.]” 2 (Id. ¶ 23(b).)
12        D.    Defendant Hires a Hitman on the Dark Web to Murder Victim

13              W.D.

14        Starting in late January 2022 and continuing until on or about

15   March 1, 2022, defendant used the username “bonfire” to communicate

16   with individuals that defendant believed to be hitmen on a murder-

17   for-hire website accessible via the dark web. 3         (PSR ¶ 14; Plea

18   Agreement ¶ 10.)

19        Defendant initially sought to hire someone to hack into Victim

20   W.D.’s phone and email.      (PSR ¶ 15; Plea Agreement ¶ 10.)        For

21   example, defendant used the murder-for-hire website to send a message

22

23        2 The PSR inadvertently switches the dates on which defendant
     sent these messages. Defendant sent the first message on January 18,
24   2022, and the second set of messages on December 29, 2021. The
     government has discussed this with the Probation Officer and
25   understands that this was a typographical error in the PSR.
26        3 At the time defendant accessed the website, although it
     advertised murder-for-hire services, the website administrators did
27   not actually arrange murders for hire. Instead, the purported hitmen
     would correspond with people seeking murder-for-hire services and
28   accept and keep payment for the services, without arranging to murder
     (or attempting to murder) anyone.
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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 9 of 18 Page ID #:135



1    asking: “hey can you do iphone hacking?         with remote access?”      (PSR

2    ¶ 15.)    A couple days later, defendant sent another message on the

3    website saying: “hey- can you get iphone [sic] access?           RAT?   How

4    much and how fast, please let me know!        i have been scammed too many

5    times.”    (Id.)

6         Defendant then requested that an individual she thought was a

7    hitman kill Victim W.D. and make it look like an accidental overdose

8    on heroin or other drugs.      (PSR ¶ 16.)    Defendant suggested that the

9    hit take place when Victim W.D. was alone, “maybe in the car” and
10   indicated that “cost is not a problem.”         (Id.)   About a week later,
11   defendant urged the completion of the deal because she wanted to

12   “take care of this asap.”      (Id.; see also Plea Agreement ¶ 10.)

13        As payment for the murder, defendant sent approximately

14   $9,848.41 in Bitcoin using the internet through a series of six

15   payments to someone who she believed was the hitman to complete the

16   deal.    (PSR ¶ 17; Plea Agreement ¶ 10.)

17        In March 2022, an FBI agent acting in an undercover capacity

18   (the “UC”) contacted defendant.       (PSR ¶ 18.)    In his communications

19   with defendant, the UC pretended to be the hitman from the murder-

20   for-hire website.     (Id.)   In a phone conversation with the UC,

21   defendant denied knowing about the murder-for-hire website and the

22   Bitcoin transaction.     (Id.)     Following this call, defendant

23   contacted the murder-for-hire website and sought to cancel the murder

24   contract.    (Id.; see also Plea Agreement ¶ 10.)

25        Defendant’s animosity towards Victim W.D. continued, however.

26   In May 2022, defendant sent the following text messages in an

27   apparent reference to Victim W.D., his family, and possibly the judge

28   who oversaw B.D.’s custody proceedings: “I will spend the rest of my

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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 10 of 18 Page ID #:136



1    life making sure they all go down.”; “They are pure evil.            That

2    judge.     Evil.”; and “I will make sure they all burn.”         (Douglas

3    Decl., Ex. 3.)

4    III. THE PRESENTENCE REPORT AND USPPO’S RECOMMENDATION

5          The United States Probation and Pretrial Services Office

6    (“USPPO”) issued a Presentence Report (“PSR”) in which the USPPO

7    calculated a base offense level of 32.         (U.S.S.G. § 2E1.4(a)(1); PSR

8    ¶ 29.)     After applying a three-level reduction for acceptance of

9    responsibility, the USPPO determined defendant’s total offense level
10   is 29. 4   (U.S.S.G. § 3E1.1; PSR ¶¶ 36-37, 39.)

11         The USSPO also calculated defendant’s criminal history score.

12   Defendant has a 2004 prior felony conviction for a Transportation or

13   Sale of a Controlled Substance, in violation of California Health &

14   Safety Code Section 11352(a), which was subsequently expunged in 2019

15   pursuant to California Penal Code Section 1203.4.           (PSR ¶ 44.)     This

16   criminal conviction results in a criminal history score of zero,

17   which corresponds with a criminal history category of I.            (PSR ¶ 45.)

18         Based on a total offense level of 29 and a criminal history

19   category of I, the USPPO determined that the advisory Guidelines

20   range is 87 to 108 months, followed by a term of supervised release

21   of one to three years.      (Id. ¶¶ 101, 104.)      Because defendant’s

22   Guidelines range places her in Zone D of the Sentencing Table, she is

23   ineligible for probation.       (Id. ¶ 106.)    The USPPO also determined

24   that the fine range for this offense is between $30,000 to $250,000.

25

26

27         4Defendant pleaded guilty and has accepted responsibility for
     her offense, and, consistent with the plea agreement, the government
28   therefore recommends and hereby moves for a three-level reduction in
     the applicable offense level pursuant to U.S.S.G. § 3E1.1(b).
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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 11 of 18 Page ID #:137



1    (Id. ¶ 110.)     The government agrees with the USSPO’s Guidelines and

2    criminal history calculations.

3          The USPPO recommended that the Court sentence defendant to a

4    term of 51 months’ imprisonment –- a five-level downward variance --

5    to be followed by a term of three years’ supervised release; and a

6    special assessment of $100 due immediately.          (Dkt. 27 at 1.)     Because

7    the USPPO determined defendant does not have the ability to pay a

8    fine (PSR ¶ 98), it recommended that all fines be waived (Dkt. 27 at

9    1.)
10   IV.   A 78-MONTH SENTENCE IS JUST AND APPROPRIATE HERE
11         The government recommends that the Court sentence defendant
12   below her Guidelines range to 78 months’ imprisonment, followed by a
13   three-year period of supervised release; a $100 special assessment;
14   and no fine, as it appears defendant lacks the ability to pay a fine
15   (PSR ¶ 106). 5   Such a sentence -– which is at the low end of the

16   Guidelines range after a one-level downward variance is applied -- is

17   sufficient, but not greater than necessary, to achieve the purposes

18   set forth in 18 U.S.C. § 3553(a).

19         A.   Nature and Circumstances of the Offense

20         The nature and circumstances of the offense are serious and

21   support a sentence of 78 months’ imprisonment.          See 18 U.S.C.

22   § 3553(a)(1).

23         Defendant targeted Victim W.D. over many months because she was

24   angry that Victim W.D. obtained custody of his minor daughter B.D.

25

26
           5The government recommends that the Court, at sentencing,
27   verify that defendant has been informed of the standard conditions of
     supervised release enumerated in General Order 20-04 (which is
28   included in full in the PSR), and then incorporate by reference and
     impose those conditions. Restitution is not an issue here.
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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 12 of 18 Page ID #:138



1    She made false reports to the FBI, originally hiding behind a

2    fraudulent name, accusing Victim W.D. and others of “abducting” B.D.

3    (PSR ¶ 11; Ex. 1.)     Around the same time, someone -– possibly

4    defendant -– sent letters to those who knew Victim W.D. repeating the

5    accusation that he had “abducted” his daughter.           (Ex. 2.)

6          Not satisfied with her campaign of false allegations, defendant

7    also sought to attack Victim W.D. in other ways.           She researched how

8    to change her IP address and access the dark web, ultimately finding

9    what she thought was a murder-for-hire website.           (PSR ¶¶ 21-23.)
10   Defendant originally tried to hire someone from the website to hack
11   into Victim W.D.’s phone and email.         (Id. ¶ 15.)    But then she
12   escalated her request, and tried to hire a hitman to kill Victim W.D.

13   (Id. ¶ 14.)    Defendant sought to cover her tracks by suggesting that

14   the hitman murder Victim W.D. in a way that made it look like Victim

15   W.D. had accidentally overdosed on heroin or other drugs.            (Id.)

16         Defendant’s offense took time and planning.          She targeted Victim

17   W.D. in multiple ways and spent months researching how to access the

18   dark web to hire someone to murder Victim W.D.          She also then paid

19   the person she had hired to kill Victim W.D. approximately $10,000 in

20   Bitcoin, in a series of six, separate payments.           (Id. ¶ 17.)    And

21   although defendant ultimately tried to cancel her murder contract

22   when she was contacted by the person she thought was the hitman, her

23   animosity against Victim W.D. appears to remain, as evidenced by her

24   subsequent text messages stating she “will spend the rest of my life

25   making sure they all go down” (Ex. 3) and her repeated reiteration to

26   the USPPO of her unsubstantiated allegations that B.D. was

27   “kidnapped” (see, e.g., PSR ¶¶ 64, 73, 81).

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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 13 of 18 Page ID #:139



1          The nature and circumstances of defendant’s offense, including

2    defendant’s prolonged period of targeting Victim W.D. and utilizing

3    sophisticated means to do so, justify the government’s recommended

4    sentence.     Moreover, defendant’s calculating actions and attempts to

5    evade detection strongly militate against any further downward

6    variance recommended by the USPPO or defense counsel.

7          B.     History and Characteristics of Defendant

8          Defendant’s history and characteristics also warrant the

9    government’s recommended sentence, in particular the one-level
10   downward variance recommended by the government.           See 18 U.S.C.
11   § 3553(a)(1).

12         Defendant grew up in Rolling Hills, California, with a family

13   that was financially able to provide for “all the things [she] could

14   ever want or need.”      (PSR ¶ 10).     However, her father, although not

15   physically abusive, was verbally abusive and would break things when

16   angry.     (Id. ¶ 52.)   Defendant described “tiptoeing or walking on

17   eggshells” whenever her father was around.           (Id. ¶ 54.)   Ultimately,

18   defendant’s parents divorced, and defendant’s mother raised her.

19   (Id. ¶ 56.)     Defendant’s extended family on her mother’s side was

20   also supportive and involved in her upbringing.           (Id. ¶ 58.)

21   Defendant remains “very close” with her mother and sisters.             (Id.

22   ¶ 65.)

23         Defendant reported to the USPPO that she began using alcohol and

24   drugs at a young age.      (Id. ¶ 78.)       When she was in her early

25   twenties, defendant participated in an outpatient rehabilitation

26   program and became sober.       (Id. ¶ 79.)      As detailed in the PSR,

27   defendant reported she was diagnosed with a serious illness in 2018.

28   (Id. ¶ 71.)     Since that diagnosis, as explained in the PSR, defendant

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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 14 of 18 Page ID #:140



1    has been taking prescription medicine and using controlled

2    substances.    (Id. ¶¶ 74, 80.)

3          Defendant’s history and characteristics –- particularly her

4    history with substance abuse and medical issues –- supports the

5    government’s recommended sentence of 78 months’ imprisonment.             A one-

6    level downward variance reflects that defendant’s instant conduct was

7    most likely affected by her emotional distress over her sister’s

8    untimely death, exacerbated by defendant’s own substance abuse and

9    health issues.
10         C.   Need to Reflect Seriousness of Offense; Promote Respect for
11              the Law; Provide Just Punishment; Afford Adequate
12              Deterrence; and Protect the Public from Further Crimes
13         The sentence must satisfy the need to punish defendant, as well
14   as society’s need to reflect the seriousness of the offense; promote
15   respect for the law; provide just punishment; afford adequate
16   deterrence; and protect the public.         18 U.S.C. § 3553(a)(2).      Those
17   objectives justify the government’s recommended sentence of 78
18   months’ imprisonment.

19         Defendant’s offense was serious: with extensive research, time,

20   and planning, she hired someone to kill Victim W.D. on the dark web.

21   Prior to doing so, she tried to use the FBI to target Victim W.D. and

22   others.    Those actions show a blatant lack of respect for the law, as

23   well as her ability to use relatively sophisticated means to carry

24   out her criminal activities.       Moreover, defendant has continued to

25   harbor animosity against Victim W.D. and even in her conversations

26   with the USPPO repeated her unsubstantiated claims against him.             All

27   these facts indicate that a significant period of incarceration is

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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 15 of 18 Page ID #:141



1    warranted to reflect the seriousness of defendant’s offense and deter

2    future crimes.

3          D.   Need to Avoid Unwarranted Disparities

4          Section 3553(a)(6) requires the Court to minimize sentencing

5    disparities among similarly situated defendants.           One way of doing so

6    is to correctly calculate the Guidelines range and then sentence

7    defendants within that range.       See United States v. Treadwell, 593

8    F.3d 990, 1011 (9th Cir. 2010) overruled on other grounds by United

9    States v. Miller, 953 F.3d 1095 (9th Cir. 2020) (“Because the
10   Guidelines range was correctly calculated, the district court was

11   entitled to rely on the Guidelines range in determining that there

12   was no ‘unwarranted disparity’ . . . .”); Gall v. United States, 552

13   U.S. 38, 54 (2007) (“[A]voidance of unwarranted disparities was

14   clearly considered by the Sentencing Commission when setting the

15   Guidelines ranges.”).      Here, the Guidelines result in a sentencing

16   range 87 to 108 months’ imprisonment.         See U.S.S.G. § 5A (Sentencing

17   Table).    Because the Guidelines do not fully capture defendant’s

18   history and characteristics, as explained above, the government

19   recommends a one-level downward variance.         However, any further

20   downward variance is unwarranted and would create a disparity between

21   defendant and other defendants “with similar records who have been

22   found guilty of similar conduct.”        18 U.S.C. § 3553(a)(6).

23         A.   A Three-Year Term of Supervised Release, With the

24              Conditions in the Plea Agreement and Recommended by

25              Probation, Is Just and Appropriate

26         The government agrees with the USPPO’s recommendation that the

27   Court impose a three-year term of supervised release following

28   imprisonment.    (Dkt. 27 at 1.)     Given the seriousness of the instant

                                            11
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 16 of 18 Page ID #:142



1    offense and the other considerations stated above, a three-year

2    period of supervised release is necessary in order to provide

3    defendant with oversight and supervision after her release from

4    prison.   See United States v. Johnson, 529 U.S. 53, 59 (2000)

5    (“Congress intended supervised release to assist individuals in their

6    transition to community life.”); S. Rep. No. 98-225, at 124 (1983)

7    (describing the “primary goal” of supervised release as providing

8    “rehabilitation”).

9          Further, the government requests that the Court impose the
10   supervised release conditions that the parties agreed to in the plea
11   agreement, and which are also recommended by the USPPO. 6           (Plea

12   Agreement ¶ 2(j); Dkt. 27 at 2-16.)        As the USPPO notes, these

13   conditions, especially those agreed upon by the parties, are

14   appropriate in this case to protect the public from future crimes by

15   defendant, including Victim W.D., and will provide additional

16   oversight and supervision for defendant when she transitions from

17   incarceration back into the community. (See Dkt. 27 at 8-9.)

18   V.    CONCLUSION

19         For the foregoing reasons, the government respectfully requests

20   that this Court sentence defendant to 78 months’ imprisonment,

21   followed by a three-year period of supervised release; a $100 special

22   assessment; and no fine.      The government further requests that the

23   Court impose the specific conditions of supervised release that the

24   parties agreed to in the plea agreement and that the USPPO also

25   recommends.

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           6For the Court’s convenience, the government has filed the
28   portion of the Plea Agreement with these agreed-upon conditions as
     Exhibit 4.
                                       12
     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 17 of 18 Page ID #:143



1                              CERTIFICATE OF COMPLIANCE

2           The undersigned, counsel of record for Plaintiff United States

3    of America, certifies that this memorandum of points and authorities

4    contains 3,266 words, which complies with the word limit of L.R. 11-

5    6.1.

6     Dated: January 12, 2024              E. MARTIN ESTRADA
                                           United States Attorney
7
                                           MACK E. JENKINS
8                                          Assistant United States Attorney
                                           Chief, Criminal Division
9
10                                               /s/
                                           ELIZABETH S.P. DOUGLAS
11                                         Assistant United States Attorney

12                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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     Case 2:22-cr-00474-JLS Document 30 Filed 01/12/24 Page 18 of 18 Page ID #:144



1                       DECLARATION OF ELIZABETH S.P. DOUGLAS

2          I, Elizabeth S.P. Douglas, declare as follows:

3          1.    I am an Assistant United States Attorney in the United

4    States Attorney’s Office for the Central District of California.                I

5    represent the government in United States v. Julia Beth Coda, 2:22-

6    cr-00474-JLS.    I have knowledge of the facts set forth herein and

7    could and would testify to those facts fully and truthfully if called

8    and sworn as a witness.

9          2.    Attached as Exhibit 1 is a true and correct copy of a
10   portion of an FBI report documenting the allegations made by
11   defendant to the FBI in 2021.
12         3.    Attached as Exhibit 2 is a true and correct copy of an FBI
13   report documenting an interview with Victim W.D.
14         4.    Attached as Exhibit 3 is a true and correct copy of an FBI
15   report summarizing the initial review of defendant’s Google and Apple
16   accounts, as well as a portion of the attachments to that report.
17         5.    Attached as Exhibit 4 is a true and correct copy of a
18   portion of the Plea Agreement in this case.

19         I declare under penalty of perjury under the laws of the United

20   States of America that the foregoing is true and correct and that

21   this declaration is executed at Los Angeles, California, on January

22   12, 2024.

23                                                        /s/
                                                 ELIZABETH S.P. DOULGAS
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